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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MONTRELL OLIVER                              :    CIVIL ACTION
                                              :
                      v.                      :
                                              :
 BARRY SMITH, et al.                          :    NO. 16-5537

                           REPORT AND RECOMMENDATION

ELIZABETH T. HEY, U.S.M.J.                                                August 27, 2021

       This is a counseled petition for writ of habeas corpus filed pursuant to 28 U.S.C.

§ 2254, by Montrell Oliver (“Petitioner”), challenging his Philadelphia conviction at CP-

51-CR-0400362-1997. 1 For the reasons that follow, I recommend that the petition be

granted as to Petitioner’s claim of ineffective assistance of counsel (“IAC”) for failing to

investigate and call alibi witnesses, and denied as to his remaining claims.

I.     FACTS AND PROCEDURAL HISTORY

       On February 17, 1998, a jury sitting before the Honorable John J. Poserina

convicted Petitioner of first-degree murder, three counts of robbery, two counts of

aggravated assault, and one count each of conspiracy and possessing an instrument of

crime, in connection with the killing of Juakeim Bates. 2 See Commonwealth v. Oliver,

No. 1355 Philadelphia 1998, Memorandum at 1-3 (Pa. Super. Oct. 7, 1999) (attached to

response, Doc. 15-1 at 1-3) (“Super. Ct. Op.”).


       1
        Certain documents in the state court record bear case number 9704-0036-2/2,
9704-0037 1/1, based on the court’s prior docket numbering system. I will use the
current assigned number when citing filings in the Philadelphia Court of Common Pleas.
       2
           Juakeim’s name also appears in the record as Juakin.
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       The facts and procedural history were summarized by the Pennsylvania Superior

Court on direct appeal as follows:

                       On 2/1/97,[3] three young men came in to Philadelphia
               from Norristown to buy some drugs. They stopped at the gas
               station where they saw co-defendant Omar Goldwire.
               Goldwire had previously been in school with one of them.
                       After meeting Goldwire, . . . they told him that they
               had about $3,200.00 in cash to spend. He told the driver to
               drive after him and follow his car. The two cars drove to the
               area of 3820 Wallace Street. Goldwire went inside the house
               and left the 3 men from Norristown outside in their own car.
               Omar Goldwire’s brother “Calif” was inside the house talking
               with his friend, Marcus Best. On the second floor were 2
               people named “Jimmy” and [Petitioner] . . . .
                       Within a few minutes, Omar dropped off the keys to
               the vehicle he was driving and went outside to the 3 men
               from Norristown. They parked around the corner ostensibly
               to buy the drugs. Omar began knocking on the door
               ostensibly to arrange a drug purchase. This was actually part
               of the “setup” for a [r]obbery.
                       Minutes later, [Petitioner] with a handgun and
               “Jimmy” . . . with a shot gun left the house. At least one of
               the two gunmen placed a mask over his face. Two of them
               went around the corner to rob the three from Norristown.
                       The scene was outlined by the eyewitnesses as
               follows:
                       Johan Weldon was the driver who had the cash and
               Larry Smith was in the back seat. Juakin Bates, age 20, was
               sitting inside the car when “a guy in the mask,” dressed in a
               trench coat, pulled out the shotgun and pointed it at Bates.
                       At that point, Omar Goldwire was described by Johan
               Weldon and Larry Smith as also having a hand gun. At that
               point, Johan Weldon decided to try to drive away. The
               shotgun was fired at Juakin Bates as he raised his arm. The
               shotgun rifle type projectile passed through his arm, entered

       3
        The state court opinions use this date, but the evidence puts the events in the late-
night to early-morning hours of February 16-17, 1997.

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               his body and among other thing[s] severed the aorta. He bled
               to death in 20 minutes.
                       As the car sped away other guns were fired at the car
               breaking windows and causing glass fragments to shatter over
               the driver (Weldon) and the passenger in the back seat
               (Smith).
                       Both . . . Smith (passenger) and . . . Weldon (driver)
               testified that several persons were shooting into their car. As
               soon as they spotted a police car, they stopped and told the
               officer that Bates had been shot. He was rushed to a hospital
               where he was pronounced dead.
                       Within a short time after the shooting, Marcus Best,
               who was visiting with “Calif” . . . at 3920 Wallace Street
               stated that Omar Edwards [sic], Jimmy and [Petitioner] all
               returned to the house. He heard Omar Goldwire say to the
               other two, “you messed up.” Actual words were (you fuck
               up.)
                       They placed the shotgun inside the house near the
               refrigerator and [Petitioner] kept the handgun. They left the
               house 45 minutes later.
                       At that time, Omar, his brother “Calif,” together with
               Marcus left the house to go to a local gas station at 38th and
               Girard Avenue. Police who received information at the crime
               scene arrived at the gas station and took all three of them to
               the Homicide Division where each gave a statement. Omar
               Goldwire was arrested, “Calif” and Marcus Best were
               released. [ Petitioner] . . . was subsequently arrested.
               [Marcus] Best became a witness, but “Calif” was not called as
               a witness.

Super. Ct. Op. at 1-3 (quoting Commonwealth v. Oliver, CP-51-CR-0400362-1997,

Opinion at 1-3 (Phila. C.C.P. Aug. 13, 1998) (“Trial Ct. Op.”)). 4


       4
        Petitioner is alternately referred to by the last names Oliver and Harris, and also
by the nicknames Hoagie, Hoagie Head, and Mook. Because several individuals in this
matter have the last name Goldwire, those individuals will at times be referred to by their
first names. When Omar Best and “Calif” (real name, Khalif) were at the gas station
following the shooting, police arrested Omar on an unrelated warrant. N.T. 02/09/98 at
33-34 (testimony of Best). Police interviewed Khalif and Mr. Best the next day. Id. at

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       The jury was unable to reach a unanimous penalty verdict (death versus life

imprisonment), N.T. 02/17/98 at 132, and Judge Poserina sentenced Petitioner to

mandatory life imprisonment without parole for first-degree murder, in addition to

consecutive and concurrent terms on the other counts. See Super. Ct. Op. at 3.

       Petitioner appealed alleging insufficient evidence and other grounds, but the

Pennsylvania Superior Court affirmed his judgment of sentence on October 7, 1999.

Super. Ct. Op. at 18. His petition for allocatur was denied by the Pennsylvania Supreme

Court on February 10, 2000. Commonwealth v. Oliver, 751 A.2d 188 (Pa. 2000) (table).

       On November 10, 2000, Petitioner filed a timely pro se petition under the Post-

Conviction Relief Act (“PCRA”), 42 Pa. Cons. Stat. §§ 9541, et seq., alleging IAC for

advising him not to testify based on a prior juvenile adjudication, failing to object to the

prosecutor’s comment that Petitioner had not provided an alibi witness, failing to object

to an instruction that the jury use its common sense in determining malice, failing to

request a corrupt source charge regarding Marcus Best, and failing to call Petitioner’s

parents and sister as character witnesses. Commonwealth v. Oliver, CP-51-CR-0400362-

1997, Motion for Post-Conviction Relief (Phila C.C.P. Nov. 10, 2000) (“2000 PCRA

Petition”). Petitioner’s appointed PCRA counsel filed a no-merit letter 5 and petition to




34-35. It was established at the preliminary hearing that both men implicated Petitioner
and a third person in the homicide. N.T. 03/26/97 at 108-18, 136, 148-52. Best testified
at trial, N.T. 02/09/98 at 11, but Khalif disavowed his police statement at the preliminary
hearing, N.T. 03/26/97 at 96, 100-01, 103, 109-18, and did not testify at trial.
       5
           See Commonwealth v. Finley, 550 A.2d 213 (Pa. Super. 1988).


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withdraw. Commonwealth v. Oliver, CP-51-CR-0400362-1997, Finley letter (Phila.

C.C.P. Feb. 4, 2002) (“Finley Letter”). After the PCRA court dismissed the petition

without a hearing, Petitioner appealed alleging that he did not receive proper notice of the

Finley Letter. The PCRA court rejected this argument in its opinion recommending

affirmance. Commonwealth v. Oliver, CP-51-CR-0400362-1997, PCRA Op. (Phila.

C.C.P. May 17, 2002) (“PCRA Ct. 2002 Op.”). 6 However, the Superior Court agreed

with Petitioner and sent the matter back to the PCRA court. Commonwealth v. Oliver,

No. 1223 EDA 2002, Memorandum, at 5 (Pa. Super. May 7, 2003) (“2003 Super Ct.

Op.”) (attached to response, Doc. 15-2 at 2).

       On remand, the PCRA court provided Petitioner with notice, and then dismissed

the PCRA petition for lack of merit on July 11, 2003. Commonwealth v. Oliver, CP-51-

CR-0400362-1997, Order (Phila. C.C.P. July 11, 2003) (“2003 PCRA Ct. Order”); see

also Commonwealth v. Oliver, CP-51-CR-0400362-1997, PCRA Op. (Phila. C.C.P. Oct.

9, 2003) (opinion of Judge Poserina recommending affirmance of dismissal on appeal)

(“PCRA Ct. 2003 Op.”). The Superior Court dismissed Petitioner’s appeal on March 5,

2004, for failure to file a brief. Commonwealth v. Oliver, No. 2732 EDA 2003, Order

(Pa. Super. Mar. 5, 2004) (“2004 Super. Ct. Order”).




       6
        In his pro se statement of matters complains of on appeal, Petitioner added claims
not contained in his PCRA petition, including a claim of IAC for failing to investigate a
known alibi witness and introduce alibi evidence at trial. Commonwealth v. Oliver, CP-
51-CR-0400362-1997, Concise Statement of Matters Complained of on Appeal, ¶ 2.g.
(Phila. C.C.P. May 6, 2002) (“1925 Statement”).

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       On March 13, 2006, Petitioner filed a second PCRA petition, again alleging IAC.

Commonwealth v. Oliver, CP-51-CR-0400362-1997, Motion for Post-Conviction

Collateral Relief (Phila. C.C.P. filed Mar. 13, 2006). On October 24, 2006, the PCRA

court dismissed the petition as untimely. Commonwealth v. Oliver, CP-51-CR-0400362-

1997, Order (Phila. C.C.P. Oct. 24, 2006) (signed docket entry). Petitioner appealed to

the Superior Court, which affirmed the dismissal on May 22, 2008. Commonwealth v.

Oliver, 3202 EDA 2006 (Pa. Super. May 22, 2008) (“2008 Super. Ct. Op.”) (attached to

response, Doc. 15-3 at 3).

       On September 26, 2016, 7 Petitioner initiated the present action by filing a pro se

petition for writ of habeas corpus, alleging various claims including violation of his due

process and equal protection rights, lack of subject-matter jurisdiction, improper jury

instructions, actual innocence, violation of his Eighth Amendment rights under Miller v.

Alabama, 567 U.S. 460 (2012), 8 and IAC. Docs. 1 & 3. The Honorable Mitchell S.

Goldberg referred the matter to me to prepare a Report and Recommendation (“R&R”).

Doc. 4.




       The original petition was docketed on October 21, 2016, but this court employs
       7

the “mailbox rule,” deeming the petition filed when given to prison authorities for
mailing. Burns v. Morton, 134 F.3d 109, 113 (3d Cir. 1998) (citing Houston v. Lack, 487
U.S. 266 (1988)). The original petition indicates that it was signed and placed for
mailing on September 26, 2016, Doc. 1 at 8, and therefore, I will assume that Petitioner
gave the petition to prison authorities for mailing on that date.
       8
        In Miller, the Supreme Court held that mandatory life sentences imposed on
juvenile offenders violate the Eighth Amendment. 567 U.S. at 470. At the time of the
incident, Petitioner was seventeen years of age.

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       In my initial R&R dated August 3, 2017, I recommended that, despite Petitioner

having been sentenced in violation of Miller, he had come to federal court too late and his

petition should be dismissed as untimely. Doc. 17. The Federal Community Defender

Office for the Eastern District Office of Pennsylvania (“Federal Defender”) advised the

court of its availability to assist Petitioner in raising his Miller claim, and Judge Goldberg

appointed that office to represent Petitioner and referred the matter back to me for a

determination regarding the applicability of Miller. See Docs. 21, 22, 24. On October

23, 2017, Respondents conceded that Petitioner was entitled to relief under Miller, and

requested that his federal habeas proceedings be stayed so Petitioner could return to state

court to litigate his Miller claim. Doc. 26. I issued a Supplemental R&R recommending

that the request be granted, Doc. 30, and on November 16, 2017, Judge Goldberg

approved and adopted the Supplemental R&R and stayed the matter pending the

conclusion of the state court proceedings. Doc. 30.

       On February 2, 2018, Petitioner filed a PCRA petition in state court, seeking relief

under Miller. Commonwealth v. Oliver, CP-51-CR-0400362-1997, Criminal Docket

(Phila C.C.P. Nov. 10, 2000) (“Docket Sheet”) (entry dated Feb. 2, 2018). On January

18, 2019, the Philadelphia Court of Common Pleas vacated Petitioner’s sentence of life

without parole and resentenced him on the murder count to a prison term of twenty-four

years-to-life. Id. (entry dated Jan. 18, 2019); see also Doc. 41. No further penalty was

imposed on the remaining convictions. Doc. 41 (parties’ joint status report).

       On March 18, 2019, Petitioner filed a counseled amended habeas petition raising

seven grounds for relief:


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                 1. Petitioner is actually innocent of the charged offenses and
                    his conviction and sentence represent a fundamental
                    miscarriage of justice;

                 2. The Commonwealth violated Petitioner’s right to due
                    process by failing to disclose that Jimmy Whitney was
                    incarcerated at the time of the homicide and by failing to
                    correct false testimony from Marcus Best regarding
                    Jimmy Whitney;

                 3. IAC for failing to investigate and present exculpatory
                    evidence about the identity of Jimmy Whitney;

                 4. IAC for failing to investigate and present evidence from
                    four key witnesses: June Bell, Jadean Whitmore, Duane
                    Napper, and Shallom Roberts;

                 5. IAC for advising Petitioner not to testify;

                 6. IAC for failing to file a motion to sever Petitioner’s trial
                    from Omar Goldwire’s trial; and

                 7. Petitioner suffered prejudice from the cumulative effect of
                    the above constitutional violations.

Doc. 45 at 5-12 (headings A-G). 9 On September 20, 2019, Respondents filed a response

arguing that Petitioner’s first claim is non-cognizable and the remaining claims are

procedurally defaulted and/or meritless, except that Respondents waived procedural

default and agreed to an evidentiary hearing as to the fourth claim (failure to call

witnesses). Doc. 50. 10


       9
           Unless otherwise noted, all citations will be to the court’s ECF pagination.
       10
         On May 20, 2019, the parties filed a joint motion to stay these proceedings,
citing the Federal Defender and the Pennsylvania Innocence Project’s referral of this
matter to the Conviction Integrity Unit (“CIU”) of the Philadelphia District Attorney’s
Office. Doc. 46. Judge Goldberg denied the motion on May 21, 2019. Doc. 47.


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       On December 12, 2019, Petitioner sought leave to amend the petition and file a

supplemental memorandum of law, which I granted without prejudice to any procedural

defenses Respondents might raise. Docs. 62, 63. In the amended petition and

memorandum that followed, Petitioner raised two additional claims which I will assign

sequential numbers;

              8. The Commonwealth used its peremptory strikes in a
                 discriminatory manner in violation of Batson v. Kentucky,
                 476 U.S. 79 (1986), and trial counsel was ineffective for
                 failing to object at the time; and

              9. IAC for failing to impeach Marcus Best with the false
                 name he initially gave to police.

Docs. 62-1 & 64. On March 25, 2020, Respondents filed a response arguing that

Petitioner’s two additional claims are procedurally defaulted and meritless. Doc. 66.

       By Order dated October 2, 2020, I scheduled an evidentiary hearing to be held in

February 2021 to address the merits of Petitioner’s IAC claim regarding the failure to

present alibi witnesses and the default and merits of his IAC and due process claims

regarding Jimmy Whitney’s incarceration at the time of the crime. Doc. 69. 11 I later

rescheduled the evidentiary hearing for June 2021. Doc. 70.

       On May 7, 2021, Respondents filed a supplemental response to the amended

petition, conceding that Petitioner was entitled to conditional relief on his claim of IAC


       11
          I initially determined that a hearing was proper as to Petitioner’s IAC claim for
failing to call alibi witnesses based on Respondents’ affirmative waiver of procedural
default as to that claim, and that as for Petitioner’s IAC claim related to Jimmy Whitney,
a hearing was proper to determine whether cause existed to excuse the procedural default
of that claim by operation of Martinez v. Ryan, 566 U.S. 1 (2012). I will further address
the propriety of holding a hearing infra at 16-20.

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for failing to present alibi witnesses, and stating that the parties would submit stipulations

obviating the need for the evidentiary hearing. Doc. 73 at 2. Shortly thereafter, the

parties filed a document entitled Parties’ Agreed Statements of Facts and Joint

Stipulations, memorializing the parties’ agreed-upon facts supporting their joint position

that trial counsel rendered ineffective assistance for failing to investigate and present

testimony from alibi witnesses. Doc. 75 (“Stipulations”). 12 The matter is now ripe for

review.

II.    STARDARDS OF REVIEW 13

       A.     Exhaustion and Procedural Default

       Before the federal court can consider the merits of a habeas claim, a petitioner

must comply with the exhaustion requirement of section 2254(b), by giving “the state

courts one full opportunity to resolve any constitutional issues by invoking one complete

round of the State’s established appellate review process.” O’Sullivan v. Boerckel, 526


        The pertinent section of the Stipulations will be discussed in detail in the
       12

Discussion, starting infra at 27.
       13
          The statute of limitations does not bar review. Petitioner’s conviction became
final in 2000, followed by a timely PCRA proceeding ending in 2004, an untimely PCRA
petition filed in 2006, and this habeas petition filed in 2016. An obvious question arises
as to the timeliness of the petition, and Respondents initially asserted the time bar. Doc.
15. Nevertheless, in response to the counseled amended petition, Respondents
affirmatively waived any statute of limitations defense, citing “the particular
circumstances of this case.” Doc. 50 at 5. Although Respondents do not address
timeliness in response to the additional amendment raising two more claims, Doc. 66,
Respondents were obviously aware of the limitations issue, and I conclude that they again
affirmatively waived the defense. In light of that waiver, I will not inquire further into
the timeliness of the petition. See Day v. McDonough, 547 U.S. 198, 210-11 (2006)
(“should a State intelligently choose to waive a statute of limitations defense, a district
court would not be at liberty to disregard that choice”).

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U.S. 838, 845 (1999). In addition, federal constitutional claims must be fairly presented

to the state courts, meaning that the petitioner must present the same factual and legal

basis for the claim to the state court to put the state court “on notice that a federal claim is

being asserted.” McCandless v. Vaughn, 172 F.3d 255, 261 (3d Cir. 1999).

       A petitioner’s failure to exhaust his state remedies may be excused in limited

circumstances on the ground that exhaustion would be futile. Lambert v. Blackwell, 134

F.3d 506, 518-19 (3d Cir. 1997). Where such futility arises from a procedural bar to

relief in state court, the claim is subject to the rule of procedural default. See Werts v.

Vaughn, 228 F.3d 178, 192 (3d Cir. 2000). In addition, if the state court does not address

the merits of a claim because the petitioner failed to comply with the state’s procedural

rules in presenting the claim, it is also procedurally defaulted. Coleman v. Thompson,

501 U.S. 722, 750 (1991).

       The court may address a procedurally defaulted claim only if the petitioner

establishes cause for the default and prejudice resulting therefrom, or that a failure to

consider the claim will result in a fundamental miscarriage of justice. Werts, 228 F.3d at

192 (citing McCandless, 172 F.3d at 260; Coleman, 501 U.S. at 731). To meet the

“cause” requirement to excuse a procedural default, a Petitioner must “show that some

objective factor external to the defense impeded counsel’s efforts to comply with the

State’s procedural rule.” Id. at 192-93 (quoting and citing Murray v. Carrier, 477 U.S.

478, 488 (1986)). To establish prejudice, a petitioner must prove “‘not merely that the

errors at his trial created a possibility of prejudice, but that they worked to his actual and

substantial disadvantage, infecting his entire trial with error of constitutional


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dimensions.’” Bey v. Super’t Greene SCI, 856 F.3d 230, 242 (3d Cir. 2017) (quoting

United States v. Frady, 456 U.S. 152, 170 (1982) (emphasis in original)).

       In order for a petitioner to satisfy the fundamental miscarriage of justice exception

to the rule of procedural default, the Supreme Court requires a petitioner to show that a

“‘constitutional violation has probably resulted in the conviction of one who is actually

innocent.’” Schlup v. Delo, 513 U.S. 298, 327 (1995) (quoting Carrier, 477 U.S. at 496).

To satisfy this standard, a petitioner must present new, reliable evidence of factual

innocence. Id. at 324.

       Additionally, with respect to certain claims of ineffectiveness of trial counsel, a

petitioner can rely on post-conviction counsel’s ineffectiveness to establish cause to

overcome a default. Martinez, 566 U.S. at 13. In Martinez, the Supreme Court carved

out a narrow exception to the rule that ineffective assistance of PCRA counsel does not

provide cause to excuse a procedural default, holding that “[i]nadequate assistance of

counsel at initial-review collateral proceedings may establish cause for a prisoner’s

procedural default of a claim of ineffective assistance at trial.” Id. at 9. The Court

explained that “if counsel’s errors in an initial-review collateral proceeding do not

establish cause to excuse the procedural default in a federal habeas proceeding, no court

will review the prisoner’s claims.” Id. at 10-11. Thus, the Martinez exception applies

only to claims of ineffective assistance of trial counsel where the errors or absence of

post-conviction counsel caused a default of these claims at the initial-review post-

conviction proceeding. Id. at 14; see also Norris v. Brooks, 794 F.3d 401, 405 (3d Cir.

2015) (“Martinez made very clear that its exception to the general rule . . . applies only to


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attorney error causing procedural default during initial-review collateral proceedings, not

collateral appeal.”). In addition, a petitioner must “demonstrate that the underlying

ineffective-assistance-of-trial-counsel claim is a substantial one, which is to say that . . .

the claim has some merit.” Martinez, 566 U.S. at 14. 14

       B.     Merits Review

       Under the federal habeas statute, review is limited in nature and relief may only be

granted if (1) the state court’s adjudication of the claim “resulted in a decision contrary

to, or involved an unreasonable application of, clearly established Federal law, as

determined by the Supreme Court of the United States;” or if (2) the adjudication

“resulted in a decision that was based on an unreasonable determination of the facts in

light of the evidence presented in the State court proceeding.” 28 U.S.C. § 2254(d)(1)-

(2). Factual issues determined by a state court are presumed to be correct, rebuttable only

by clear and convincing evidence. Werts, 228 F.3d at 196 (citing 28 U.S.C.

§ 2254(e)(1)).

       The Supreme Court has explained that “[u]nder the ‘contrary to’ clause, a federal

habeas court may grant the writ if the state court arrives at a conclusion opposite to that

reached by [the Supreme] Court on a question of law or if the state court decides a case



       14
          Whether a claim has “some merit” is judged by the standard to obtain a
certificate of appealability. Martinez, 566 U.S. at 14 (citing Miller-El v. Cockerell, 537
U.S. 322, 327 (2003) (“A petitioner satisfies this standard by demonstrating that jurists of
reason could disagree with the district court’s resolution of his constitutional claims or
that jurists could conclude the issues presented are adequate to deserve encouragement to
proceed further.”)).


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differently than [the Supreme] Court has on a set of materially indistinguishable facts.”

Williams v. Taylor, 529 U.S. 362, 412-13 (2000). With respect to “the ‘unreasonable

application’ clause, a federal habeas court may grant the writ if the state court identifies

the correct governing legal principle from [the Supreme] Court’s decisions but

unreasonably applies that principle to the facts of the prisoner’s case.” Id. at 413. The

“unreasonable application” inquiry requires the habeas court to “ask whether the state

court’s application of clearly established federal law was objectively unreasonable.” Id.

at 409. As the Third Circuit has noted, “an unreasonable application of federal law is

different from an incorrect application of such law and a federal habeas court may not

grant relief unless that court determines that a state court’s incorrect or erroneous

application of clearly established federal law was also unreasonable.” Werts, 228 F.3d at

196 (citing Williams, 529 U.S. at 411).

       For claims that were not addressed by the state courts in the first instance, this

deferential standard of review does not apply. Appel v. Horn, 250 F.3d 203, 210 (3d Cir.

2001) (“when . . . the state court has not reached the merits of a claim thereafter

[properly] presented to a federal habeas court, the deferential standard . . . do[es] not

apply”). In those circumstances, claims are reviewed using the de novo standard of

review. See Jacobs v. Horn, 395 F.3d 92, 100 (3d Cir. 2005) (“In cases where the

AEDPA standards of review do not apply, federal habeas courts apply pre-AEDPA

standards of review.”). “[T]he state court’s factual determinations are still presumed

correct, rebuttable only upon a showing of clear and convincing evidence.” Appel, 250

F.3d at 210 (citing 28 U.S.C. § 2254(e)(1)).


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       C.     Ineffectiveness of Counsel

       Several of Petitioner’s claims allege IAC. Such claims are governed by Strickland

v. Washington, 466 U.S. 668 (1984), in which the Supreme Court set forth a two-pronged

test for the consideration of IAC claims. First, the petitioner must show that counsel’s

performance was deficient, which “requires showing that counsel made errors so serious

that counsel was not functioning as ‘counsel’ guaranteed the defendant by the Sixth

Amendment.” Id. at 687. In other words, a “defendant must show that counsel’s

representation fell below an objective standard of reasonableness.” Id. at 688. This

assessment requires the court to consider counsel’s conduct at the time, under all the

circumstances, without the “the distorting effects of hindsight.” Id. at 689. Second, the

petitioner must show that the deficient performance prejudiced the defense, which

“requires showing that counsel’s errors were so serious as to deprive the defendant of a

fair [and reliable] trial.” Id. at 687. In determining prejudice, the question is whether

there is a reasonable probability that the result of the proceeding would have been

different. Id. at 694; see also Smith v. Robbins, 528 U.S. 259, 285-86 (2000) (prejudice

prong turns on whether there is “a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different”).

III.   DISCUSSION

       As previously noted, Petitioner raises seven grounds in his counseled amended

habeas petition, and two additional claims in later amendment. Docs. 45 & 62-1. I will

first address Ground Four -- IAC for failing to present alibi witnesses, which is the

subject of the parties’ Stipulations -- and then address the remaining claims seriatim.


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       A.     Ground Four: IAC for Failing to Investigate and Present Testimony of
              Alibi Witnesses

       Petitioner argues that trial counsel was ineffective for failing to investigate and

present testimony from four witnesses -- June Bell, Jadean Whitmore, Duane Napper, and

Shallum Roberts. Doc. 45 at 10-11. Petitioner raised this claim in his second PCRA

appeal, which the state courts found to be untimely. 2008 PCRA Super. Ct. Op. at 4, 7.

This would normally result in a default of the claim, but Respondents have affirmatively

waived the default and concede the merits of the claim. Doc. 50 at 16-20. 15 I will first

address the propriety of accepting evidence on this claim, and then turn to the merits

under a de novo standard of review. Jacobs, 395 F.3d at 100.

              1. Taking of evidence on habeas review

       With respect to the facts supporting this IAC claim, Respondents invited an

evidentiary hearing, Doc. 50 at 1, 16, and later reached stipulations with Petitioner. Doc.

75. However, the habeas statute limits the circumstances in which a federal court may

hold an evidentiary hearing, and the parties do not address whether such circumstances

are present here. For these purposes, I see no distinction between holding an evidentiary

hearing and accepting factual stipulations.

       The statute provides that “[i]f the applicant has failed to develop the factual basis

of a claim in State court proceedings, the court shall not hold an evidentiary hearing on



        As with timeliness, default can be waived as a defense to a habeas claim. See
       15

generally Bennett v. Super’t Graterford SCI, 886 F.3d 268, 280-81 & n.11 (3d Cir. 2018);
28 U.S.C. § 2254(b)(3) (“A State shall not be deemed to have waived the exhaustion
requirement . . . unless the State, through counsel, expressly waives the requirement.”).

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the claim unless the applicant shows that (A) the claim relies on . . . (ii) a factual

predicate that could not have been previously discovered through the exercise of due

diligence; and (B) the facts underlying the claim would be sufficient to establish by clear

and convincing evidence that but for constitutional error, no reasonable factfinder would

have found the applicant guilty of the underlying offense.” 28 U.S.C. § 2254(e)(2). In

assessing whether the applicant has met the opening clause of this section, “a failure to

develop the factual basis of a claim is not established unless there is a lack of diligence,

or some greater fault, attributable to the prisoner or the prisoner’s counsel.” Williams v.

Taylor, 529 U.S. 420, 432 (2000). A petitioner who was not diligent must show the two

listed elements to obtain a hearing (facts could not have been discovered through due

diligence and no reasonable factfinder would have found guilt), whereas a petitioner who

did not fail in diligence need not make that showing. Id. at 435. If a hearing is permitted,

a decision whether to hold a hearing is within the discretion of the court. Morris v.

Beard, 633 F.3d 185, 196 (3d Cir. 2011). 16




       16
         Because the state courts did not review Petitioner’s IAC claim, the rule barring a
hearing to supplement the state-court post-conviction record does not come into play.
See Cullen v. Pinholster, 563 U.S. 170, 185 (2011) (“If a claim has been adjudicated on
the merits by a state court, a federal habeas petition[er] must overcome the limitation of
§ 2254(d)(1) on the record that was before that state court.”); Brown v. Wenerowicz, 663
F.3d 619, 629 (3d Cir. 2011) (“[i]n light of Pinholster, district courts cannot conduct
evidentiary hearings to supplement the existing state court record” where state court
denied relief on merits); Brown v. Bickell, No. 12-2400, 2014 WL 5880071, at *7 (E.D.
Pa. Nov. 12, 2014) (“habeas court is not prohibited from considering evidence outside the
state court record” in reviewing claims not adjudicated on merits by state court).

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       The diligence threshold does not require diligence throughout the proceedings.

Thus, where a petitioner has, albeit belatedly, attempted to raise the issue and seek a

hearing in the state court, but that request was rejected on the basis of a procedural rule

that was later held invalid, this court should find that the petitioner exercised diligence.

Morris, 633 F.3d at 193-94 (although it “strains credulity to say that [petitioner]

‘diligently’ developed his conflict-of-interest claim in the traditional sense of the word,”

by waiting from his 1983 trial until a 1996 PCRA petition to raise it, “we are constrained

to agree” that he was “’diligent’ in the technical sense” because “he sought an evidentiary

hearing in the manner required by state law”); Lark v. Sec’y Pa. Dept. of Corr., 645 F.3d

596, 614-17 (3d Cir. 2011) (applying Morris). As the Supreme Court has stated, a

finding of diligence turns on whether a petitioner “made a reasonable attempt” to pursue

his claim “in light of the information available at the time.” Williams, 529 U.S. at 435.

       Although Petitioner certainly missed opportunities to raise this IAC claim in the

state courts, I conclude that he was diligent in attempting to do so. This issue of potential

alibi witnesses arose during Petitioner’s first PCRA proceedings. His pro se petition did

not state an IAC claim for failure to investigate and present an alibi defense, although it

did raise an IAC claim for not objecting when the prosecutor improperly mentioned lack

of alibi witnesses in closing argument. 2000 PCRA Petition ¶ 9.II. His appointed PCRA

counsel did not thereafter raise the claim either, instead filing a Finley letter addressing

only those issues presented in the pro se petition. However, in his pro se statement of

matters raised on appeal Petitioner included an IAC claim based on trial counsel’s

“fail[ure] to investigate a known alibi witness and introduce alibi evidence at trial.” 1925


                                               18
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Statement § 2.g. In his opinion recommending affirmance, Judge Poserina referenced a

letter dated October 31, 2001, from PCRA counsel to Petitioner which does not appear in

the record but that was provided to Judge Poserina. PCRA Ct. 2002 Op. at 5. In that

letter, counsel stated that Petitioner’s mother said that she had “reports from a Private

Investigator,” and that as a courtesy counsel would wait a week before submitting his

Finley letter. Judge Poserina noted that the report “never materialized,” and that after

repeatedly delaying the PCRA proceedings, counsel concluded that the report “just did

not exist.” Id. at 7-8. 17 Because Petitioner’s appeal was dismissed by the Superior Court

for failure to file a brief, the Superior Court did not address this issue.

       Petitioner also did not raise the IAC/alibi claim in his second PCRA, identifying

only a claim that his lawyer should have objected to the prosecutor’s closing argument.

However, in a motion filed on April 25, 2006, he asked the court to dismiss his PCRA

petition without prejudice, stating that he had not been provided counsel and his PCRA

had not been completed, and that if not allowed to dismiss he would not be able to show

his actual innocence. Commonwealth v. Oliver, CP-51-CR-0400362-1997, Motion to

Dismiss PCRA Without Prejudice (Phila C.C.P. Apr. 25, 2006). Then on August 24,

2006, he moved for extension of time to amend, stating that he was awaiting several

notarized statements that would fall under newly discovered evidence and asking for

sixty days to amend. Commonwealth v. Oliver, CP-51-CR-0400362-1997, Motion for



       17
          Judge Poserina repeated this same explanation in his October 9, 2003 opinion
after the Superior Court remanded the case. PCRA Ct. 2003 Op. at 7-8.


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Extension of Time to Amend PCRA (Phila C.C.P. Aug. 24, 2006). The docket does not

indicate that either motion was ruled on, and the petition was dismissed as untimely. In

his pro se appeal, according to the Superior Court’s opinion, Petitioner claimed that his

“trial counsel was ineffective for failing to investigate known alibi witnesses and

introduce alibi evidence at trial.” 2008 Super. Ct. Op. at 4. Petitioner also faulted his

first PCRA counsel for failing to review the record and the PCRA court for dismissing

his first PCRA petition without a hearing. Id. at 3. The Superior Court affirmed the

lower court’s decision that the second PCRA was untimely. Id. at 4-7. 18 Thus, Petitioner

tried albeit unsuccessfully to raise his IAC/alibi claim. Under these circumstances, I

conclude that it is permissible for this court to hold a hearing, and in lieu of that to accept

the parties’ Stipulations. See Han Tak Lee v. Glunt, 667 F.3d 397, 406 (3d Cir. 2012)

(“If [a petitioner] pursued his claim with diligence in the state court, but the claim

remained undeveloped, he is eligible for an evidentiary hearing.”); Morris, 633 F.3d at

196 (in considering whether to hold a hearing, court should “focus on whether a new




       18
         Petitioner sought to overcome the time bar by relying on the Pennsylvania
Supreme Court’s decision in Commonwealth v. Collins, 888 A.2d 564 (Pa. 2005), which
held that an IAC claim was independent of an underlying claim of error for purposes of
whether an issue is barred from review on the ground that it was previously litigated.
2008 Super. Ct. Op. at 6 & n.4. In Petitioner’s case, the Superior Court ruled that, even if
Collins established a new constitutional right within the meaning of the PCRA, his
petition was still untimely because Petitioner filed his second petition more than sixty
days after Collins was decided. Id. at 6 (citing 42 Pa. C.S.A. § 9545(b)(1)(iii)). The
court also rejected Petitioner’s proffer that he tried to get the help of a fellow inmate
following dismissal of his first PCRA petition but that the inmate was released and the
parole authorities prevented the inmate from assisting Petitioner. Id. at 6-7 n.6.

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evidentiary hearing would be meaningful, in that a new hearing would have the potential

to advance the petitioner’s claims”).

              2. Merits review

       To prevail in an ineffectiveness claim for failing to investigate and present witness

testimony, a petitioner must demonstrate that the witnesses at issue were willing and

available to testify and what testimony each would have provided. Zettlemoyer v.

Fulcomer, 923 F.2d 284 (1991). Such a claim is also subject to the familiar two-pronged

Strickland test of inadequate performance and prejudice. 466 U.S. 668. Consideration of

the claim should start with a review of the evidence, including the parties’ Stipulations. 19

       As summarized at the outset, supra at 2-3, the case concerned the shooting death

of Juakeim Bates in the early morning hours of February 17, 1997. Based on the



       19
         As previously noted, the Commonwealth’s continued investigation of this matter
culminated in Stipulations filed by the parties. Factual stipulations are “formal
concessions . . . that have the effect of withdrawing a fact from issue and dispensing
wholly with the need for proof of the fact,” Christian Legal Soc’y Chapter of the Univ. of
Cal., Hastings Coll. of the L. v. Martinez, 561 U.S. 661, 677-78 (2010) (citation omitted),
and are not legal conclusions. The Stipulations are divided into sections. First, they
address the charges and trial based on the testimony at trial and sentencing, Stipulations
¶¶ 1-23, and next they address the parties’ subsequent investigation of Petitioner’s IAC
claim for failing to investigate and present testimony from alibi witnesses Ms. Bell and
Ms. Whitmore. Id. ¶¶ 24-44. The Stipulations are not necessary to aid the court’s own
review of the trial evidence and are relevant only for the narrow fact issues at issue here,
namely the availability and content of witness testimony that was not presented at trial.
As to these points, the Stipulations represent evidence that would have been presented at
the hearing had it gone forward. To the extent the Stipulations reflect the parties’ legal
conclusions, they carry no weight. See Natividad v. Beard, No. 08-cv-0449, 2021 WL
3737201, at *2 (E.D. Pa. Aug. 24, 2021) (“The Commonwealth’s concession and the
parties’ agreement that petitioner should be granted the requested relief of a new trial
does not relieve the Court of its own duty to consider [petitioner’s] petition under federal
and constitutional law.”).

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prosecutor’s opening statement, the Commonwealth’s theory was that late on February

16, Mr. Bates and his friends Johann Weldon and Larry Smith, who were all from

Norristown, drove into Philadelphia and while there stopped at a gas station in West

Philadelphia and saw Omar (Goldwire). N.T. 02/04/98 at 177-78. 20 Mr. Bates and Omar

recognized one another from school some years before, and Mr. Bates told Omar that he

and his friends had money and were looking to buy drugs. Id. at 178-79. Omar devised a

plan to rob them, and instructed them to follow him as he drove to his house at 3820

Wallace Street. Id. at 179-80, 181. The three men waited in their car as Omar went

inside to find his best friend, Petitioner, and a third man only identified as Jimmy. Id. at

180. Omar retrieved a handgun and went back outside and got into the back of the men’s

car, and directed them to drive to the 3800 block of Mt. Vernon Street, explaining that his

friend Mack lived there and would sell them drugs. Id. at 181-82. At Omar’s instruction

the men knocked on some of the doors asking for Mack without success. Id. at 183-84.

As Mr. Bates was trying to get back into the front passenger seat of the car, two men

wearing ski masks came around the corner, one carrying a shotgun and the other a

handgun. Id. at 184-85. The man with the handgun positioned himself at the rear of the

car, and the other, who the prosecutor argued was Petitioner, used the shotgun to shoot

out the rear window and then shot Mr. Bates at point-blank range as he was getting into

the car. Further shots were fired as Mr. Weldon drove their car away. Id. at 185-86. The

prosecutor told the jury that the victims would not be able to identify Petitioner, because


        As previously noted, members of the Goldwire family are sometimes referenced
       20

herein by just their first names.

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the shooter wore a mask, but that police got his name from Khalif and Marcus Best,

whose evidence would establish his guilt. Id. at 193, 196.

       The prosecutor called both surviving victims (Johann Weldon and Larry Smith) to

testify, and their testimony was consistent with the prosecutor’s outline, although Mr.

Smith testified that he only saw one masked man. N.T. 02/06/98 at 75-99 (Mr. Weldon),

146-69 (Mr. Smith). 21 Neither identified Petitioner, and both identified Omar as the man

they met that at the gas station that evening and one of the men who fired at them,

although Mr. Weldon had previously identified a photograph of Omar’s brother Khalif as

the man at the gas station. Id. at 75, 92-93, 123 (Mr. Weldon); 148-49, 161 (Mr. Smith).

       Another witness, Ricky Smith (no relation to Larry Smith), also largely

corroborated the prosecutor’s narrative, although he also did not identify Petitioner

(referred to as “Mook”) as involved in the events. Ricky Smith was close friends with

Jadean Whitmore, referred to as “Jay,” who was Petitioner’s girlfriend at the time. N.T.

02/06/98 at 7. He testified that at about 1:00 a.m. he came to visit Petitioner and Ms.

Whitmore where they lived together on the 3800 block of Mr. Vernon Street. Id. at 8-9.

While he was waiting outside their door he saw a car park in the middle of the street and

two men, one of whom he identified as Omar, got out and knocked on doors on the street

and he heard someone answer that the man they were looking for was not there. Id. at 9-

14. Omar then came to the same door where Ricky Smith was waiting for Petitioner and



        Larry Smith testified that the only man he saw wearing a face mask was the man
       21

who came to the side of the car carrying a shotgun, and that Omar had a handgun and did
not wear a mask. N.T. 02/06/98 at 164.

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Ms. Whitmore, and they knocked but no one answered. Id. at 15-16, 44, 67. As Omar

returned to the car, Ricky Smith saw two masked men coming from the direction of

Wallace Street, one armed with a shotgun and the other a handgun. Id. at 17-19. The

man with the shotgun fired as the car started to pull out. Id. at 20. He recognized the

sound of shotgun rounds and also handgun rounds. Id. at 24-25. He crouched out of the

way of the bullets, and saw Omar crouching behind a car. Id. at 26-27, 40. Shortly

thereafter he forced his way into Petitioner and Ms. Whitmore’s house as he could not get

an answer to his call, and found Ms. Whitmore home but not Petitioner. Id. at 32. Ricky

Smith testified that Petitioner was not one of the masked men based on their height and

build. Id. at 36.

       The key evidence against Petitioner was the testimony of Marcus Best. N.T.

02/09/98 at 11-101. Best explained that he and Khalif were best friends, that Petitioner

and Omar were best friends, and that Omar was Khalif’s older brother. Id. at 11-14. He

testified that on that day he was at Omar’s house at 3820 Wallace Street, that Omar left at

about 9:30 p.m. in a car Best described as Khalif’s car, and returned at about midnight

followed by another car. Id. at 15-17, 20. Omar went upstairs, at which time Petitioner

(referred to as “Hoagie Head”) and Jimmy were also upstairs. Id. at 17, 20-21. He could

not identify Jimmy other than that he was from North Philadelphia and knew Omar. Id.

at 17-18. Omar came back downstairs and left, and few moments later Petitioner and

Jimmy also left, Petitioner carrying a handgun and wearing a black trench coat and

Jimmy carrying a shotgun. Id. at 22-25, 48. A few moments later he heard shots, then

Petitioner and Jimmy came back running each carrying the same guns they left with, and


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Omar also returned. Id. at 26-27. Best testified that he did not see if Omar had a gun, but

heard Omar say to Petitioner and Jimmy, “y’all F’d up.” Id. at 28-29. About forty-five

minutes after the shooting, Best, Omar, and Khalif were in the same car at a gas station

when police approached and arrested Omar. Id. at 32-34. Best was questioned the next

day by police and implicated Petitioner and Omar. Id. at 34.

       Omar’s statement to police after his arrest was read into evidence at trial. N.T.

02/09-98 at 113-121. He admitted that he knew Mr. Bates from school and that Mr.

Bates and his friends talked about having money to buy cocaine. Id. at 113-14. Omar

was trying to locate Mack when three men he did not know came running out of an alley

blasting guns. Id. at 116. The statement did not implicate Petitioner. 22

       The prosecutor also presented evidence of Petitioner’s arrest. Officers attempted

to arrest him on the morning of February 18, 1997, where he was living at 3825 Mt.

Vernon Street, but no one was present. N.T. 02/09/18 at 138-40. Other officers arrested



       22
          Detective Richard Harris testified that he recovered two spent shell casings from
the street at the scene of the crime. N.T. 02/05/98 at 80. Police Officer James Caldwell
testified that he recovered a bullet and five lead metal fragments from inside the car Mr.
Bates was in, and that the car’s rear window was shattered and there were several bullet
holes in the car. N.T. 02/09/98 at 172, 175, 177. Detective Richard Bova testified that
three .45 caliber rounds of ammunition were found inside the Goldwire house on Wallace
Street, along with .380 caliber and 9mm ammunition and a shotgun. Id. at 131. Police
Officer Muhammad Abdur-Rahim provided ballistics testimony, stating that he could not
say with certainty that the two spent cartridge cases found in the street were fired from
the same firearm due to corrosion, but confirming that they were both fired from a .45-
caliber semiautomatic handgun. Id. 02/09/98 at 212, 218. Officer Abdur-Rahim also
testified that the lead fragments found in the car were consistent with being from a
shotgun rather than a handgun, but that he could not say that they came from the
recovered shotgun. Id. at 221-23, 225-26.


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Petitioner later that day at his mother’s residence. Id. at 159-61. At the time of his arrest,

Petitioner stated that his name was Montrell Andre Harris, and that his nickname was

“Hoagie.” Id. at 160.

       Khalif was also questioned by police the day after the shooting, but the jury did

not hear his statement and he did not testify at trial. The jury also did not hear that Khalif

implicated Petitioner, as the prosecutor had outlined in opening. 23

       Neither Petitioner nor Omar testified at trial. Petitioner’s counsel called Monique

Goldwire, the sister of the Goldwire brothers. N.T. 02/10/98 at 45-86. On the evening of

February 16, 2017, she was at their home at 3820 Wallace Street watching television. Id.

at 46. Also in the home were Khalif, his girlfriend, and Marcus Best, but Monique did

not see Petitioner in the house any time that night, nor did she see a person named

Jimmy. Id. at 47-48, 52. She testified that sometime after about 1:00 a.m., Omar came to

the door and dropped off car keys which he asked Monique to give to their mother,

stating that he was going to go “around the corner with these boys to Mack house and I’ll

be back.” Id. at 51. She eventually went upstairs to bed and did not see Omar further or

hear any shots. Id. at 52, 81. There was no rebuttal evidence.

       Petitioner’s counsel asserted Petitioner’s innocence in closing argument, arguing

at length about inconsistencies and shortcomings in the evidence and the unreliability of



       23
         Khalif disavowed his police statement at the preliminary hearing, see
Stipulations ¶ 10 (citing N.T. 03/26/97 at 96, 100-01, 103, 109-18), and did not testify at
Petitioner’s trial. Id. at n.3. In 2010, Khalif signed an affidavit formally recanting his
police statement and attesting that Petitioner was not involved in Bates murder. Id.;
Khalif Goldwire Affidavit, Doc. 45-1 at 43 (“Khalif Affidavit”).

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Best’s testimony (including based on a crimen falsi prior conviction), but did not have

any evidence upon which to argue that Petitioner was elsewhere at the time of the events.

N.T. 02/11/98 at 7-25, 29-34. The prosecutor closed by summarizing the evidence

against Omar, noting that both victims identified him as did Ricky Smith and Marcus

Best. Id. at 44-68. In attempting to persuade the jury of Petitioner’s identity as the

shotgun shooter, he relied on Best’s testimony, arguing why it should be believed despite

inconsistencies with his preliminary hearing testimony, and that Petitioner was the right

height based on the witness descriptions. Id. at 73, 78-93. The prosecutor also argued

that Petitioner’s arrest in another part of town showed that he was “laying low” after the

shooting. Id. at 93-94. The prosecutor argued that Petitioner’s connection to Omar

corroborated Best’s testimony, that Monique’s testimony that he was not in the house that

night should be disbelieved, and that the shooting which took place in front of his house

and his disappearance from the area all supported his guilt. Id. at 103-09.

       Following deliberations, the jury convicted Petitioner and Omar of first-degree

murder, three counts of robbery, two counts of aggravated assault, and related offenses.

N.T. 2/17/98 at 14-19.

       The Stipulations address the parties’ investigations of Petitioner’s IAC claim for

failing to investigate and present testimony from alibi witnesses Ms. Bell and Ms.

Whitmore. Stipulations ¶¶ 24-44. The parties stipulate that trial counsel, who died in

2010, intended to present Petitioner’s alibi defense. Id. ¶ 26. Trial counsel had a private

investigator interview Ms. Bell, and the investigator provided a copy of the interview to

the prosecution. Id. ¶ 27; see Alibi Notice and Investigation Interview of June Bell dated


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Nov. 24, 1997, attached to the response at Exhs. F (Doc. 50-5 at 4) & G (Doc. 50-6)

(“Bell Interview”). Additionally, trial counsel knew that Ms. Whitmore was a possible

defense witness because the police interviewed her and the statement she gave was

provided to the defense in discovery. Stipulations ¶ 28; see Investigation Interview

Record of Jadean Whitmore dated Feb. 17, 1997, attached to the response at Exh. B (Doc.

50-2) (“Whitmore Statement”). Moreover, trial counsel listed both Ms. Bell and Ms.

Whitmore as potential witnesses, and during voir dire the prosecutor told prospective

jurors that they might be called as trial witnesses. Stipulations ¶ 29. Finally, trial counsel

attempted to have Ms. Bell appear for trial and sent an order to the Youth Study Center to

secure her appearance, but she did not receive the order because she was instead living in

a community-based shelter. Id. ¶¶ 30 (citing June Bell Subpoena, attached to response at

Exh. D (Doc. 50-4) (“Bell Subpoena”)), 31. 24 Counsel made no attempt to continue the

trial or have Ms. Bell brought to court when she failed to appear. Id. ¶ 32.

       The parties maintain that Ms. Bell’s and Ms. Whitmore’s accounts would have at

least partially corroborated Petitioner’s statement made during the penalty phase of the

trial as to his whereabouts on the night of Bates’s murder. Stipulations ¶¶ 33, 36; see

infra at 30-31. Ms. Bell and Ms. Whitmore provided affidavits to Plaintiff’s habeas



       24
         Respondents obtained Ms. Bell’s juvenile criminal records which contained no
record of her placement at the Youth Study Center. Stipulations ¶ 31 n.4. As
Respondents point out, Doc. 50 at 19, the subpoena contains two clerical errors.
Specifically, it references an order date of February 8, 1998, it directs that Ms. Bell be
transported from the Youth Study Center to court on June 9, 1998, and February 10,
1993. Bell Subpoena.


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counsel which counsel attached to the amended petition. Affidavit of June Bell dated

Feb. 14, 2018, Doc. 45-1 at 21 (“Bell Aff.”); Affidavit of Jadean Whitmore dated May 7,

2018, Doc. 45-1 at 23 (“Whitmore Aff.”). Both asserted that they were willing to testify

at Plaintiff’s trial. If called as a witness, Ms. Bell would have testified that she met

Petitioner at Ms. Whitmore’s residence on the night of the Bates murder, and that the two

spent the night at Duane Napper’s apartment on Spring Garden Street. Stipulations

¶¶ 34-35 (citing Bell Aff.). 25 Ms. Whitmore, who lived across the street from the murder

scene and was Petitioner’s girlfriend at the time, would have testified that Petitioner left

her house with Ms. Bell on the night of the murder and that Petitioner returned around

11:00 a.m. the following day. Id. ¶ 37 (citing Whitmore Aff.). Ms. Whitmore would also

have testified that Ms. Bell returned after Petitioner’s arrest and told Ms. Whitmore that

Petitioner had been with her at the time of the Bates murder. Id. ¶ 38 (citing Whitmore

Aff.). This information is roughly consistent with what she told police. For example,

when interviewed by police at 6:40 p.m. on February 17, 1997, Ms. Whitmore stated that

she fell asleep before 11:00 p.m. the prior evening, that at some point Ricky Smith

(whom she referred to as her brother) woke her up and asked if she heard shooting, which



       25
          Ms. Bell refers to Mr. Napper as “Kasheem.” In her November 1997
investigation interview, Ms. Bell stated that she and Petitioner were at 40th and Spring
Garden Streets at the time of the crime, see Bell Interview, Doc. 50-6 at 3, and in her
February 2018 affidavit she refers to this location as “the room Kasheem and I were
staying in at around 40th and Spring Garden Streets.” Bell Aff., Doc. 45-1 at 21. In a
letter dated July 29, 1998, private investigator Tyrone Parker informed Petitioner’s
counsel that he “took a statement from Duane Napper (aka) Kasheem” eight days earlier,
and attached Mr. Napper’s statement. See 07/29/98 letter, Doc. 45-1 at 26 (“Parker
Letter”).

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she did not. See Jadean Whitmore Interview Record dated Feb. 17, 1997, Doc. 50-2.

Ricky Smith told her that a man from a gray car knocked on a house on the same block as

Ms. Whitmore’s, and when the man returned to the car two armed men with long coats

came out from a lot and started shooting at the gray car and then ran back into the lot.

Ms. Whitmore also reported that her boyfriend, Petitioner, came home at 11:00 a.m., and

when she told him about the shooting, told her that someone who lives across the street

from the Goldwire house said that the two shooters came from that house and returned to

it. Id. at 1-2.

        Although the affidavits were obtained by Petitioner’s habeas counsel, the parties

separately interviewed Ms. Bell and Ms. Whitmore as part of their investigations, and

while acknowledging that their testimony would not be unimpeachable, the parties

maintain “that their testimony would have been sufficiently credible such that it likely

would have raised a reasonable doubt as to [Petitioner’s] guilt.” Stipulations ¶ 39. The

parties also point out that the jury deliberated for about three days, sought clarifications,

and asked to re-hear Best’s testimony, suggesting the case was a “close call.” Id. ¶¶ 19,

44; see, e.g., N.T. 2/17/98 at 3-13 (requesting clarification of degrees of murder). 26

        The Stipulations are consistent with information that can be gleaned from the

record and documents submitted by the parties. Although he did not testify during the

guilt phase of the trial, during the penalty phase Petitioner provided the following account

of the night of Bates’s murder:


        The parties also cite to jury requests for clarification made on February 12 and
        26

16, 1998, although the court does not have Notes of Testimony for those days.

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              On February 16th, girl by the name of June knocked on my
              door. Me and my baby mom and my daughter was laying in
              the bed. She came upstairs. She picked my daughter up after
              my baby mom let her in. She’s a friend of me and my baby
              mom. Then she asked me where was Omar live at. I said I
              don’t know. So she said let’s go try to find him. We walked
              out the house. We went to the Chinese store, and from the
              Chinese store we went to Ava’s house. She went there then.
              From there, we went from 39th and Folsom to 40th and
              Spring Garden and I stayed there—I left my house when the
              10 o’clock news came on. And from there I stayed there the
              next day until 11:30 a.m., the next day which was the 17th,
              and I never left. I never left that night. I was we are that
              whole night. That’s all. That’s the truth right there.

N.T. 02/17/98 at 65-66. Also during the penalty phase, Omar’s mother Thelma testified

that she did not see Petitioner in her house on the night of the murder. Id. at 39.

       The affidavits from Ms. Bell and Ms. Whitmore at least partially corroborate

Petitioner’s claim that he was at Ms. Whitmore’s house until late on the evening of

February 16, 1997, and that Petitioner and Ms. Bell left together, and Ms. Bell further

states that she was with Petitioner for the remainder of the evening at Mr. Napper’s

residence. See Bell Aff.; Whitmore Aff. Additionally, an unsworn statement by Mr.

Napper similarly asserts that he was with Petitioner for the remainder of that same

evening. See Duane Napper Statement dated Jul. 21, 1998, Doc. 45-1 at 25 (“Napper

Statement”). These accounts generally corroborate each other as well as Petitioner’s

testimony at the penalty phase of his trial.

       Additionally, potential witness Shallom Roberts produced an affidavit explaining

that he heard the gunshots and saw two men running into the Goldwire house, which was

located roughly across the street from his residence. He stated that “I saw the faces of the



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two guys and I know for sure neither was [Petitioner.] The police never asked me if they

looked like [Petitioner].” Shallom Roberts Affidavit dated Feb. 27, 2018, Doc. 45-1 at

29-30 (“Roberts Aff.”). 27 This affidavit is consistent with the statement Mr. Roberts gave

to the police in 1997, wherein the officers did not press him for detailed descriptions of

the men he saw and Mr. Roberts indicated that he did not want to be involved in the

investigation. See Investigation Review Record of Shallom Roberts dated Feb. 19, 1997,

attached to response at Exh. C (Doc. 50-3) (“Roberts Statement”).

       Finally, although no alibi evidence was presented at trial, the prosecutor noted in

his closing that Petitioner answered the phone when Ricky Smith called Jaydean

Whitmore’s house at 11:30 p.m., but that Petitioner was not present at the house -- which

was roughly across the street from the scene of the crime -- only about an hour or so later.

N.T. 02/11/98 at 76. Contrary to the prosecutor’s statement in closing that this testimony

“completely destroyed any possible chance that [Petitioner] has [an] alibi in this case,”

id., it is generally consistent with Petitioner’s position that he was at neither the Goldwire

nor Ms. Whitmore’s house when the murder occurred, as corroborated by Ms. Bell, Ms.

Whitmore, and Mr. Napper. Thus, the evidence counsel failed to present was absolutely

crucial for Petitioner’s defense.

       While counsel intended to present Petitioner’s alibi defense and attempted to have

Ms. Bell testify, it remains unclear why counsel made no attempt to continue the trial or

have Ms. Bell brought to court when she failed to appear. Similarly, it is unclear why


       According to Mr. Roberts, Petitioner’s face is “very distinctive; that is why his
       27

nickname is Hoagie Head!” Roberts Aff. ¶ 2.

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counsel failed to present the testimony of Ms. Whitmore, Mr. Napper, or Mr. Roberts.

Although Ms. Whitmore and Mr. Roberts provided police statements, both contend that

counsel never interviewed them prior to trial. Additionally, Mr. Napper’s statement is

dated July 1998, approximately five months after Petitioner’s trial, which suggests that

counsel did not interview him prior to trial.

       Trial counsel’s failure to present these alibi witnesses was unreasonable. As

noted, trial counsel was aware of Ms. Bell and Ms. Whitmore, as for example counsel

had a private investigator interview Ms. Bell and provided a copy of the interview to the

prosecution, see Stipulations ¶ 27, and the police interviewed Ms. Whitmore and her

police statement was provided to the defense in discovery. Id. ¶ 28. Moreover, trial

counsel listed them as potential defense and alibi witnesses in correspondence with the

Commonwealth prior to trial, see Letters dated 09/15/97, 11/21/97 & 11/28/97, attached

to response at Exh. E (Doc. 50-5 at 1, 3 & 4), and the prosecutor mentioned their names

as potential witnesses during voir dire. N.T. 02/04/98 at 9. Similarly, Mr. Roberts had

given a police statement on February 19, 1997, see Roberts Statement, and therefore

counsel was presumably aware of Mr. Roberts’ potential testimony. Finally, although the

record does not disclose a pretrial statement from Mr. Napper, Petitioner’s trial counsel

had been informed that Mr. Napper was the individual Ms. Bell referred to as

“Kasheem,” who she said spent the night with her and Petitioner. See Parker Letter, Doc.

45-1 at 26. Thus, Petitioner has satisfied the first prong of the Strickland analysis.

       Under these circumstances, the prejudice prong of counsel’s ineffectiveness is

straightforward; had counsel obtained testimony from multiple available and willing


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witnesses that Petitioner was elsewhere at the time of the Bates murder, their testimony

would likely have the changed the outcome of the trial, particularly in view of the fact

that only one witness, Marcus Best, identified Petitioner as a participant in the shooting.

Accordingly, I will recommend that Petitioner be granted relief as to this IAC claim.

       Although I recommend that the writ be granted as to this claim, I will address his

other claims in the interest of completeness.

       B.     Ground One: Actual Innocence Claim is Non-Cognizable

       In his first claim, Petitioner argues that he is actually innocent of the charges

against him. Doc. 45 at 5-8. Respondents counter that a stand-alone claim of actual

innocence is not cognizable on habeas review. Doc. 50 at 11-12.

       Although a credible claim of innocence can provide a gateway through which a

petitioner can present a constitutional violation -- a basis to excuse a petitioner’s failure

to comply with the habeas limitations period, see McQuiggin v. Perkins, 569 U.S. 383,

392-93 (2013), or to excuse a procedural default, see Coleman, 501 U.S. at 750 -- actual

innocence is not a stand-alone basis for habeas relief in a non-capital case. See Herrera v.

Collins, 506 U.S. 390, 400 (1993) (“[c]laims of actual innocence based on newly

discovered evidence have never been held to state a ground for federal habeas relief

absent an independent constitutional violation”). Thus, Petitioner’s first claim does not

provide a basis for habeas relief.

       C.     Grounds Two and Three Relating to Jimmy Whitney

       Petitioner’s second and third claims both turn on his allegation that the third

robber, identified by Marcus Best as “Jimmy,” was an individual named Jimmy Whitney,


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who was incarcerated at the time of the robbery and murder of Mr. Bates. In Petitioner’s

view, this information supports both a due process claim for the prosecutor’s failure to

disclose the fact of Mr. Whitney’s incarceration to the defense in violation of Brady v.

Maryland, 373 U.S. 83 (1963), and an IAC claim for trial counsel’s failure to investigate

Mr. Whitney. Doc. 45 at 8-10. Respondents counter that both claims are procedurally

defaulted and meritless. Doc. 50 at 12-16.

       By way of background, and as previously noted, the evidence supported an

inference that three persons participated in the robbery and murder of Mr. Bates. The

only person to identify Petitioner as well as the third robber was Mr. Best, who reported

to police and testified that Petitioner and “Jimmy” followed Omar Goldwire out of the

house armed with guns and returned shortly after the shooting. Best Police Statement;

N.T. 02/09/98 at 17-29. However, neither Mr. Best nor any other witness or evidence

identified “Jimmy.”

       Petitioner cites testimony provided by Thelma Goldwire, Omar’s mother, during

the penalty phase of trial, to establish his identity. Doc. 45 at 8-9. On direct examination

by Omar’s counsel Mr. Moldovsky, Thelma testified that an individual named “Jimmy”

was never in her home that night:

              Q. Now, that night when you got in at 1:00 [from work], did
              you see Omar?

              A. Yes, I did.

              Q. Was he pretty upset?

              A. No.



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             Q. Did he tell you anything?

             A. No. All he did is ask his brother to go to the store with
             him.

             Q. Which brother is this?

             A. Khalif.

             Q. Khalif was there?

             A. Yes.

             Q. Was Marcus Best there?

             A. Yes.

             Q. Was Montrell Oliver there?

             A. Oliver never in my house.

             Q. Do you know anybody named Jimmy who comes to your
             house?

             A. Jimmy was never in my house. Ain’t no Jimmy.

N.T. 2/17/98 at 38-39. The prosecutor Mr. Gilson then cross-examined Thelma regarding

“Jimmy”:

             Q: You say there is no person named Jimmy?

             A: There ain’t no person named Jimmy.

             Q: Do you know a person by the name of Jimmy Whitney?

             A: Jimmy Whitney been in jail a long, long time. He ain’t
             out now. He’s still in jail and he wasn’t here that night
             because he been in jail.

             Q: Your son was arrested with Jimmy for committing
             robberies in the past, wasn’t he?



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              MR. MOLDOVSKY: Objection, Your Honor.

              [A:] Not that I know of.

              THE COURT: Overruled.

              MR. MOLDOVSKY: He’s talking about stipulated too [sic]
              in jail February 17th. The DA checked that out and knows
              that to be a fact. Is that correct, Mr. Gilson?

              MR. GILSON: No, I don’t know that.

              MR. MOLDOVSKY: Detective Richard Harris checked that
              out. He was in jail when this happened.

              THE COURT: What’s next?

N.T. 2/17/98 at 41. 28

       Petitioner maintains that the Commonwealth knew or should have known that

Jimmy Whitney was incarcerated and failed to disclose this information to the defense

and failed to correct Mr. Best’s testimony that Jimmy was present, and also maintains

that trial counsel failed to investigate and learn that the Jimmy in question was Jimmy

Whitney and that he was incarcerated, and that if counsel had he would have been able to

demonstrate the falsity of Mr. Best’s testimony. Doc. 45 at 8-10. Petitioner concedes

that he never presented these claims to the state courts and that they are therefore

unexhausted, and also that they are defaulted as the state courts would no longer entertain

a challenge to his conviction. Doc. 45 at 5.


       28
         Petitioner attached to his amended petition a criminal docket sheet for James
Hall, which indicates that one of his aliases is “Jimmy Whitney.” See Doc. 45-1 at 34.
The docket sheet confirms that Mr. Hall/Whitney was incarcerated at the time of Mr.
Bates’ robbery and murder. Id. at 34-39. However, there is nothing to suggest whether
the docket sheet refers to the same “Jimmy” referred to by Mr. Best.

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       As previously explained, Petitioner can overcome default by establishing cause for

the default and prejudice resulting therefrom. Werts, 228 F.3d at 192. His only argument

as to cause is that his initial post-conviction counsel was ineffective in failing to raise

these claims, relying on Martinez. Doc. 45 at 5. Although Martinez presents a possible

ground to excuse the default of an underlying claim of IAC, it cannot save his defaulted

due process/Brady claim. Martinez, 566 U.S. at 14 (exception applies only to certain

claims of ineffective assistance of trial counsel). Nevertheless, the court can consider the

merits and reject a claim on that ground, rather than rely on default. See 28 U.S.C.

§ 2254(b)(2) (writ may be denied on the merits notwithstanding failure to exhaust state

court remedies). Both the due process and IAC claims lack merit. 29

       Petitioner has not established either that the prosecution failed to disclose, or that

his trial counsel failed to discover, that the “Jimmy” referred to by Marcus Best was the

same “Jimmy Whitney” who was incarcerated at the time of Mr. Bates’ murder. First, as

to the due process claim, Brady requires the prosecution to disclose evidence favorable to

the accused “where the evidence is material either to guilt or to punishment, irrespective

of the good faith or bad faith of the prosecution.” 373 U.S. at 87. To prove a Brady

violation, a defendant must show that the evidence was (1) favorable in that it is

exculpatory or impeaching of the government’s evidence, (2) suppressed by the state, and

(3) material such that the defendant was prejudiced by the government’s suppression.

Strickler v. Greene, 527 U.S. 263, 280 (1999). “The focus [in considering a Brady claim]


       29
         Because I decide the claims on the merits, it was not necessary to take evidence
to consider cause under Martinez as originally contemplated. Supra n.11.

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is disclosure by the prosecutor, not diligence by the defense.” Dennis, 834 F.3d at 290.

As noted, to make out his IAC claim, Petitioner must establish that his counsel made

errors so serious that his representation fell below an objective standard of

reasonableness. Strickland, 466 U.S. at 689.

       Accepting that the above-quoted exchange during the penalty phase testimony of

Thelma Goldwire suggests that the Goldwires knew a person named Jimmy Whitney who

was incarcerated in February 1997, and even assuming that the police were aware that an

individual named Jimmy Whitney was in jail for a separate crime at the time Mr. Bates

was robbed and murdered, neither of these facts establish that Jimmy Whitney was the

“Jimmy” referred to by Mr. Best in his statement and testimony. No testimony or other

evidence of record links “Jimmy” to Jimmy Whitney, either in the underlying record or in

this habeas proceeding, leaving only Petitioner’s conjecture that “Jimmy” is Jimmy

Whitney. Moreover, this conjecture lacks a certain logic, because if Mr. Best, the

Goldwire brothers, and Jimmy Whitney committed prior robberies together, as Petitioner

avers, it is likely that Mr. Best was aware that Jimmy Whitney was serving time on a new

case, and that any statement he made to the contrary would have been easily discovered.

Nor is there any evidence that trial counsel had any means to discovery the identity of

“Jimmy,” or prove that he was the Jimmy referenced by Mr. Best. Therefore, Petitioner

cannot establish the merits of either his IAC or Brady claim as to Mr. Whitney, and these

claims should be denied.




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       D.     Ground Five: IAC for Advising Petitioner Not to Testify

       Petitioner next argues that trial counsel was ineffective for advising Petitioner not

to testify. Doc. 45 at 11-12. Respondents counter that the claim is procedurally defaulted

and meritless. Doc. 50 at 7-11, 20-21.

       Petitioner raised this claim in his first PCRA petition, but appointed counsel found

no merit to the claim in his Finley letter, it was subsequently dismissed on the merits

without a hearing by the PCRA court, and the Superior Court dismissed the appeal for

failure to file a brief. 2004 Super. Ct. Order. Petitioner also raised the claim in his

second PCRA appeal, which the state courts found to be untimely filed. 2008 Super. Ct.

Op. at 4, 7. Because this claim was never presented to a full round of state court review,

and because Petitioner cannot return to the state court to timely assert the claim, it is

procedurally defaulted.

       Petitioner acknowledges the default, and points to Martinez and his innocence to

overcome the default. Doc. 45 at 5. Although this is an IAC claim, Petitioner cannot rely

on Martinez to overcome its default. Martinez comes into play if “no court – state or

federal – would ever review the defendant’s ineffective assistance claims.” Cox v. Horn,

757 F.3d 113, 118 (3d Cir. 2014). Here, PCRA counsel addressed this claim in his Finley

letter, and explained that it lacked merit.

                      First and foremast it is axiomatic that no defendant is
                obligated to take the stand in his own defense. . . .
                However, if in fact the defendant does take the stand he is
                stripped of his Fifth Amendment privilege and places his
                own credibility into question. As such the Commonwealth
                is free to enter evidence of his prior convictions for “Crimin
                Falsi”, or crimes of falsehood and deceit, to diminish his


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               overall credibility in the eyes of the fact finder. In the
               instant case, [Petitioner] had been adjudicated delinquent
               twice as a juvenile. On June 18, 1992 (Robbery), and July
               5, 1994 (Theft).
                     It is clear, under basic legal principles that these
               convictions, if entered while the defendant was an adult,
               would be admissible to impeach his credibility as a witness.
               Since these were juvenile convictions, however, the analysis
               runs deeper.
                     Turning to [42 Pa. C.S.A. § 6354], the statutory
               provision that controls the effect of juvenile adjudications
               on subsequent proceedings, we find the following language
               at subsection (b)(4): (the disposition of a child under this
               chapter may only be used against him) “in a criminal
               proceeding, if the child was adjudicated delinquent for an
               offense, the evidence of which would be admissible it
               committed as an adult.”
                     This language makes clear the precept that a juvenile
               adjudication is treated identically to an adult conviction, for
               evidentiary purposes, in subsequent legal proceedings.
               Therefore, the advice trial counsel gave to the petitioner
               regarding the admissibility of his prior juvenile
               adjudications was wholly correct.
                     Furthermore, trial counsel effectively and zealously
               advocated the suppression of these juvenile adjudications.
               He filed an appropriate pre-trial Omnibus Motion seeking to
               exclude the entry of these convictions into evidence. . . .
               The motion was properly denied by This Honorable Court.
               Since counsel cannot be found ineffective for giving correct
               interpretations of the law, this issue . . . is without merit.

Finley Letter at 5-6 (not numbered) (emphasis in original) (citations omitted).

       Based on review of the Finley letter and the record, Judge Poserina dismissed the

PCRA petition. 30 2003 PCRA Ct. Order; see also 2003 PCRA Super Ct. Op. at 3 (PCRA



       30
         As explained in the procedural history, the PCRA court dismissed Petitioner’s
PCRA petition two times -- first without providing Petitioner with a copy of the Finley
Letter, and a second time after doing so.


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court’s Rule 907 notice to Petitioner “stated that the court intended to dismiss the petition

. . . without a hearing, on the basis of counsel’s Finley letter”). Because the PCRA court

considered Petitioner’s claim on the merits, Martinez is not available to provide cause to

excuse his procedural default. Moreover, Petitioner cannot show that the failure to

address this claim will amount to a fundamental miscarriage of justice. Therefore, the

claim is defaulted. 31

       E.      Ground Six: IAC for Failing to File a Motion to Sever

       Petitioner next argues that trial counsel was ineffective for not moving to sever

Petitioner’s trial from that of Omar Goldwire. Doc. 45 at 12. Respondents counter that

the claim is procedurally defaulted and meritless. Doc. 50 at 7-11, 21-22.

       As with his other claims, Petitioner concedes that this claim was never presented

to the state courts and is therefore unexhausted and procedurally defaulted, and relies on

Martinez to excuse the default. Doc. 45 at 5. Rather than proceeding through each step

of the Martinez analysis, I conclude that the underlying IAC claim is meritless.



       31
         Even were I to reach the merits of the claim, Petitioner would not be entitled to
relief. As PCRA counsel explained in the Finley letter, trial counsel attempted to exclude
Petitioner’s prior criminal adjudications, but Judge Poserina denied the motion. Trial
counsel also argued that Petitioner’s prior adjudication for receiving stolen property
should be excluded because its prejudicial value outweighed its probative value, but the
judge ruled that the prior adjudication would be admissible if Petitioner testified. See
N.T. 02/04/98 at 157-59. Counsel therefore advised Petitioner not to take the stand, and
instead challenged the sufficiency of the Commonwealth’s evidence in closing. Such
reasonable trial strategies are entitled to a high degree of deference, see Strickland, 466
U.S. at 689, and should not be second-guessed simply because the jury found against
Petitioner. See Roland v. Vaughn, 445 F.3d 671, 681-82 (3d Cir. 2006) (“Strickland and
its progeny make clear that counsel’s choices will not be second-guessed by post-hoc
determinations that a different trial strategy would have fared better.”).

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       Petitioner’s severance claim is essentially an argument that the admission of

evidence in a joint trial that was not relevant to the case against Petitioner resulted in a

denial of due process. Such discretionary evidentiary rulings are “best left to the

province of the trial judge,” Yohn v. Love, 76 F.3d 508, 525 (3d Cir. 1996), and “are not

considered to be of constitutional proportion, cognizable in federal habeas corpus

proceedings, unless the error deprives a defendant fundamental fairness in his criminal

trial.” Bisaccia v. Att’y Gen. of State of N.J., 623 F.2d 307, 312 (3d Cir. 1980) (citations

omitted); see also United States v. McGlory, 968 F.2d 309, 340 (3d Cir. 1992) (to prevail

on a severance claim, a defendant must “pinpoint clear and substantial prejudice resulting

in an unfair trial”). To constitute a denial of fundamental fairness, the evidence admitted

or not admitted “must be material in the sense of a crucial, critical, highly significant

factor.” Jameson v. Wainwright, 719 F.2d 1125, 1127 (11th Cir. 1983).

       Here, a joint trial did not deprive Petitioner of a fundamentally fair trial. First, the

defenses pursued by Petitioner and Omar were not antagonistic. To the contrary, both

attempted to implicate Mr. Best and Khalif with responsibility for the robbery and

shootings. See, e.g., N.T. 02/10/98 at 138 (counsel for Omar suggesting in closing that

Mr. Best and Khalif were responsible); 02/11/98 at 25 (Petitioner’s counsel arguing that

the incident was “a Marcus Best production with Khalif”). This was certainly a

reasonable trial strategy in light of Mr. Best’s testimony that he and Khalif were also

present in the Goldwire house immediately before and after the killing of Mr. Bates.

       Second, Petitioner and Omar were both charged with conspiracy, and therefore

much of the evidence applied to both defendants. See Johnson v. Tennis, 549 F.3d 296,


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302 (3d Cir. 2008) (“Public interest in judicial economy favors joint trials where, as in

[this] case, the same evidence would otherwise be presented at separate trials of

defendants charged with a single conspiracy.”). Notably, although Petitioner identifies

multiple witnesses whose testimony should have been included at trial to his benefit, he

fails to identify what evidence would have been excluded had he been tried separately

from Omar. 32 Under the circumstances, it is unlikely that Judge Poserina would have

granted a severance motion. Because counsel cannot be deemed ineffective for failing to

file a meritless motion, Petitioner is not entitled to relief on the merits of this IAC claim.

United States v. Sanders, 165 F.3d 248, 253 (3d Cir. 1999) (“There can be no Sixth

Amendment deprivation of effective counsel based on an attorney’s failure to raise a

meritless argument.”).

       F.     Ground Seven: Cumulative Error

       Petitioner next claims that the cumulative effect of trial counsel’s errors denied

him a fair trial. Doc. 45 at 12. Respondents counter that the claim is procedurally

defaulted and meritless. Doc. 50 at 7-11, 22-23.

       The Third Circuit recognizes claims of cumulative error.

              Individual errors that do not entitle a petitioner to relief may
              do so when combined, if cumulatively the prejudice resulting
              from them undermined the fundamental fairness of his trial
              and denied him his constitutional right to due process.
              Cumulative errors are not harmless if they had a substantial
              and injurious effect or influence in determining the jury’s
              verdict, which means that a habeas petitioner is not entitled to


        As noted, supra at 25, Omar’s police statement was read to the jury but did not
       32

implicate Petitioner.

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              relief based on cumulative errors unless he can establish
              actual prejudice.

Collins v. Sec. of Pa. Dept. of Corr., 742 F.3d 528, 542 (3d Cir. 2014) (quoting Fahy v.

Horn, 516 F.3d 169, 205 (3d Cir. 2008) (internal quotation marks omitted) (citations

omitted)). Thus, “[t]he cumulative error doctrine allows a petitioner to present a

standalone claim asserting the cumulative effect of errors at trial that so undermined the

verdict as to constitute a denial of his constitutional right to due process.” Id. (citing

Albrecht v. Horn, 485 F.3d 103, 139 (3d Cir. 2007)). This requires the court to aggregate

the prejudice caused by all the instances of error or counsel’s deficient performance. See

Smith v. Fisher, Civ. No. 14-2935, 2016 WL 4366974, at *11 (E.D. Pa. Aug. 15, 2016)

(“In the absence of any deficient performance on the part of Petitioner’s counsel . . . ,

such claims give rise to no constitutional prejudice that can be bundled on a cumulative

review.”); Pursell v. Horn, 187 F. Supp.2d 260, 363 (W.D. Pa. 2002) (cumulative review

proper only after petitioner’s claims surmount first prong of Strickland).

       A claim of cumulative error is subject to exhaustion and procedural default.

Collins, 742 F.3d at 541. Here the cumulative error claim is clearly unexhausted and

defaulted because Petitioner never presented such a claim to the state courts and has no

way to do so now. Petitioner again asserts that the ineffectiveness of his PCRA counsel

provides cause to excuse his default, implicating Martinez. Doc. 45 at 5.

       Assuming without deciding that PCRA counsel was ineffective in failing to raise

this claim, it should be rejected on the merits. Having found only one instance of trial




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counsel ineffectiveness, and having recommended relief on that claim, there is no other

error to cumulate.

       G.     Ground Eight: Batson

       In the first of two claims asserted in his counseled amendment, Petitioner argues

both that the prosecutor violated Batson in jury selection and that his trial counsel was

ineffective for failing to raise the Batson objection. Doc. 62-1 at 1-3; Doc. 64 at 2-11.

The District Attorney responds that the substantive Batson claim has been forfeited and

cannot be reviewed, and in the alternative that both prongs of this claim are procedurally

defaulted and meritless. Doc. 66 at 4-8.

       Petitioner is not entitled to review of his substantive Batson claim because under

Third Circuit precedent, Batson claims are barred from federal review in the absence of

an objection at trial. See Lewis v. Horn, 581 F.3d 92, 102 (3d Cir. 2009) (“Because

Batson relies on trial judges to decide if the circumstances concerning the prosecutor’s

use of peremptory challenges creates a prima facie case of discrimination, we have held

that a timely objection is a prerequisite to raising at Batson claim.”) (internal quotation

marks and citations omitted). Here, Petitioner failed to raise a contemporaneous

objection during or immediately after jury selection. Therefore, the claim is

unreviewable.

       Even if the claim were not forfeited, it is procedurally defaulted, as Petitioner

concedes. Doc. 64 at 2. Petitioner never presented the claim to the state courts and he

can no longer do so in a timely manner. Petitioner’s substantive Batson claim cannot be

excused by Martinez, which only applies to certain IAC claims. Moreover, for the same


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reasons previously explained, Petitioner cannot show that the failure to consider this

claim would satisfy the fundamental miscarriage of justice exception under Schlup. 513

U.S. at 298.

       The IAC portion of this claim, however, is potentially subject to Martinez. Rather

than proceeding through each step of the Martinez, however, I conclude that the

underlying IAC claim is meritless.

       Under Batson, the Supreme Court reaffirmed the fundamental principle that

“racial discrimination in jury selection offends the Equal Protection Clause,” holding that

“a defendant may establish a prima facie case of purposeful discrimination in selection of

the petit jury solely on evidence concerning the prosecutor’s exercise of peremptory

challenges at the defendant’s trial.” 476 U.S. at 85, 96. Batson established a three-step

analysis with the initial burden on the defendant to demonstrate a prima facie case

indicating discriminatory purpose by the prosecution in the exercise of its challenges,

after which the burden shifts to the prosecution to supply race-neutral explanations. Id. at

96-97. The reviewing court must then determine if the defendant has established

“purposeful discrimination.” Id. at 98.

       Here, Petitioner relies on evidence that the Commonwealth struck 71.4% of

African-American venirepersons and 28.6% of non-Black venirepersons. Doc. 64 at 4-7

& nn.4-6. 33 The Third Circuit has rejected challenges to similar percentages of strikes of


       33
         Petitioner relies on the transcripts of the jury selection (except for January 30
which are not part of the state court record and were not provided electronically by either
party), as well as the prosecutor’s voir dire notes and the jury questionnaires. See Strike
Sheet, attached to Doc. 62 as Exh. A (Doc. 62-1) (“Strike Sheet”), at 6-15; Doc. 64 Exhs.

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non-White venirepersons in other cases, particularly where multiple African-Americans

become jurors, as here where four served on Petitioner’s jury. See, e.g., Williams v.

Beard, 637 F.3d 195, 219 (3d Cir. 2011) (strike rate of 87.5% of Black venirepersons and

five Blacks sitting on the jury “inconclusive at best”); Lewis, 581 F.3d at 104 (strike rate

of 66.7% insufficient to make out prima facie case); Abu-Jamal v. Horn, 520 F.3d 272,

287, 293 (3d Cir. 2008) (where prosecutor had strike rate of 67% and three African-

Americans were empaneled, “we have never found a prima facie case based on similar

facts”), vacated on other grounds sub nom Beard v. Abu-Jamal, 130 S. Ct. 1134 (2010).

Although in some cases the courts did not have additional data regarding the number of

Black potential jurors, these cases suggest that a strike rate of 71.4%, without more, is

insufficient to establish a prima facie Batson claim.

       Petitioner argues that the prosecutor questioned Black jurors more rigorously than

White jurors, but provides no examples. Doc. 64 at 10. Petitioner also argues that the

prosecutor’s Strike Sheet and voir dire questioning reveal no race-neutral grounds for the

Commonwealth’s peremptory strikes. Id. Petitioner again provides no examples, and the

record actually belies this argument. See Strike Sheet; N.T. 02/02/98, 02/03/98 &

02/04/98. For example, the first stricken African-American venireperson identified by




A & B (Doc. 64 at 15-73.). The jury questionnaires asked jurors to self-identify as
White, Black, Hispanic, or Other. Doc. 64 at 27-73. As Petitioner explains, Doc. 64 at 6
n.6, in addition to twenty Blacks, the venire panel included one Asian struck by the
Commonwealth, one Hispanic struck by the defense, and one Native American struck by
the Commonwealth. Another panelist gave his race as both Black and Hispanic, and is
counted as Black for the purposes of the calculations in this case.


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Petitioner -- Michelle Burton, see Doc. 64 at 10 -- was noted in the prosecutor’s

contemporary notes to have been either herself a victim of crime or connected to one,

been arrested herself or had someone close to her arrested in the past, and to have

connections to law enforcement. Strike Sheet, Doc. 64 at 18. When questioned about her

responses, Ms. Burton testified that her brother had been a heroin addict for twenty years

and been arrested for drugs and other crimes, and that her daughter had been robbed.

N.T. 02/02/98 at 72.

       Because the record does not support a prima facie case of discrimination, counsel

cannot be held ineffective for failing to raise or preserve a Batson claim. 34 See Sanders,

165 F.3d at 253.

       H.     Ground Nine: IAC for Failing to Impeach Marcus Best

       In the second claim asserted in his counseled amendment, Petitioner alleges IAC

for failing to impeach Mr. Best concerning the false name he gave to police shortly after

Bates’s murder. Doc. 62-1 at 3-4; Doc. 64 at 11-12. The District Attorney responds that

the claim is procedurally defaulted and meritless. Doc. 66 at 8-10. Petitioner concedes


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          Petitioner also alleges an office-wide pattern and practice of discrimination by
the Philadelphia District Attorney’s Office. Doc. 64 at 9. However, as Respondents
point out in their response to Petitioner’s Batson claim, see Doc. 66 at 8 n.4, courts in this
jurisdiction have consistently held that the purported evidence of such a pattern and
practice is insufficient to establish that a particular prosecutor unlawfully discriminated at
a particular trial. See, e.g., Clark v. Beard, No, 10-3164, 2015 WL 7294971, at * 51
(E.D. Pa. Jun. 1, 2015) (“Many courts have been presented with this data . . . arising out
of Philadelphia and have not found it compelling.”), R&R approved and adopted, 2015
WL 727360 (E.D. Pa. Nov. 18, 2015), aff’d sub nom. Clark v. Sec’y Pa. Dep’t of Corr.,
687 F.App’x 152 (3d Cir. Apr. 24, 2017); Howard v. Horn, 56 F.Supp.3d 709, 723-24
(E.D. Pa. 2014) (petitioner failed to present any direct link between prosecutor in his case
and training video allegedly evidencing office-wide discrimination).

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that this claim is unexhausted and defaulted, and again relies on Martinez to excuse the

default. Doc. 64 at 11. I do not find it necessary to conduct the Martinez analysis,

however, because I find that the claim has no merit.

       Witness examination falls within the ambit of trial strategy, and as such is entitled

to strong deference to the attorney’s tactical decisions. See Sistrunk v. Vaughn, 96 F.3d

666, 670 (3d Cir. 1996) (courts “‘must indulge a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance; that is, the

defendant must overcome the presumption that, under the circumstances, the challenged

action might be considered sound trial strategy’”) (quoting Strickland, 466 U.S. at 689)

(internal quotation omitted). Similarly, the fact that a tactic proved unsuccessful at trial

does not render it unreasonable, see Strickland, 466 U.S. at 689, nor does the right to a

fair trial translate into the right to a perfect trial. United States v. Travillion, 759 F.3d

281, 291 (3d Cir. 2014).

       Here, it was particularly important for Petitioner’s trial counsel to throw into

question the credibility of Mr. Best, the key Commonwealth witness, and it is true that

counsel did not cross-examine Mr. Best as to the false name he initially gave to police

after the killing of Mr. Bates. However, counsel sought to undermine Mr. Best’s

credibility before the jury in multiple ways. During the cross-examination of Mr. Best,

counsel questioned him regarding his prior arrests for theft and drug dealing, his

incarceration, whether the Commonwealth offered him reduced prison time in exchange

for favorable testimony, and inconsistencies between his police statement and his trial

testimony. N.T. 02/09/98 at 37-44, 51-55. Omar Goldwire’s counsel implied that Mr.


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Best could be charged with perjury for lying under oath, id. at 98-99, and both defense

counsel repeatedly referred to him in bluntly unfavorable terms during closing statements

to the jury. See, e.g., N.T. 02/10/98 at 133 (“the self-confessed drug dealer, the self-

admitted thief, the fellow who’s in prison and might get out as early as next week”), 134

(“consider that messenger, Marcus Best, that drug dealer, that thief, that scared person,

and his inconsistencies and his expressions”), 147 (“drug-dealing thief,” “inconsistent

self-serving and deceitful testimony”); N.T. 02/11/98 at 13 (Mr. Best “has a background

of crime and dishonesty”), 15 (“why shouldn’t he lie?”), 17 (Mr. Best “knew he got

caught in a lie”), 36 (“twist and lies”).

       Given this evidence and argument, it is unlikely that the additional detail that Mr.

Best initially gave a false name to the police would have created a reasonable probability

of a different jury verdict. As such, it cannot be said that counsel performed deficiently

in questioning Mr. Best, or that counsel’s chosen strategy prejudiced Petitioner.

Therefore, Petitioner is not entitled to relief on this claim.

IV.    Certificate of Appealability

       Although the Commonwealth may appeal a grant of habeas corpus relief as of

right, a petitioner seeking review by the circuit court must obtain a certificate of

appealability (“COA”). F.R. App. P. 22(b). A petitioner requires a COA to cross-appeal

an issue even when the prosecuting entity is appealing the grant of habeas relief. Mathias

v. Frackville SCI, 869 F.3d 462, 474 (3d Cir. 2017).

       The court may issue a COA “only if the applicant has made a substantial showing

of the denial of a constitutional right” and must specify to which issues it applies. 28


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U.S.C. § 2253(c)(2). The Supreme Court has held that a COA should be issued if the

petitioner demonstrates that “jurists of reason could disagree with the district court’s

resolution of his constitutional claims or that jurists could conclude the issues presented

are adequate to deserve encouragement to proceed further.” Miller-El, 537 U.S. at 327.

       In this case, there is no basis to grant a COA on the claims for which I recommend

denying habeas relief.

V.     CONCLUSION

       Petitioner is entitled to relief as to Ground Four (IAC for failing to investigate and

present testimony of alibi witnesses), which Respondents concede, and which is

warranted by the entirety of the record and the parties’ submissions.

       Ground One (actual innocence) is non-cognizable. Ground Two (due process

violation related to Jimmy Whitney) is procedurally defaulted and meritless, and related

Ground Three (IAC for failing to investigate and present exculpatory evidence regarding

Jimmy Whitney) is meritless. Ground Five (IAC for advising Petitioner not to testify) is

defaulted and meritless, and Ground Six (IAC for failing to file a motion to sever) is

meritless. Ground Seven (cumulative error) is defaulted and lacks merit as there is no

error to cumulate other than the single ground for which I recommend granting relief.

Ground Eight (Batson claim and related IAC) is unreviewable, defaulted, and in any

event meritless as to Batson, and the related IAC claim is defaulted and meritless.

Finally, Ground Nine (IAC for failing to impeach Marcus Best) is meritless.

       Accordingly, I make the following:




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                             RECOMMENDATION

       AND NOW, this 27th day of August, 2021, IT IS RESPECTFULLY

RECOMMENDED that the petition for writ of habeas corpus be GRANTED with respect

to Petitioner’s claim of ineffective assistance of counsel for failing to investigate and

present testimony from alibi witnesses. I further RECOMMEND that execution of the

writ be STAYED for 180 days to permit the Commonwealth to retry Petitioner.

       In all other respects, I RECOMMEND that the writ be DENIED and that no

Certificate of Appealability issue with respect to Petitioner’s remaining claims.

                                           BY THE COURT:

                                           /s/ ELIZABETH T. HEY
                                           __________________________
                                           ELIZABETH T. HEY, U.S.M.J.




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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MONTRELL OLIVER                            :        CIVIL ACTION
                                            :
                   v.                       :
                                            :
 BARRY SMITH, et al.                        :        NO. 16-5537

                                        ORDER

      AND NOW, this                day of                      , 2021, upon careful and

independent consideration of the petition for writ of habeas corpus and associated

briefing, and after review of the Report and Recommendation of United States Magistrate

Judge Elizabeth T. Hey, IT IS ORDERED that:

      1.     The Report and Recommendation is APPROVED AND ADOPTED.

      2.     The petition for writ of habeas corpus is GRANTED with respect to
             Petitioner’s claim of ineffective assistance of counsel (“IAC”) for failing to
             investigate and present testimony from alibi witnesses.

      3.     Execution of the writ is STAYED for 180 days to permit the
             Commonwealth to retry Petitioner.

      4.     In all other respects, the writ is DENIED.

      5.     A certificate of appealability shall not issue.



                                                     BY THE COURT:



                                                     __________________________
                                                     MITCHELL S. GOLDBERG, J.




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